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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-00133-TLN
12                                Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND TO EXCLUDE TIME
13                          v.                          PERIODS UNDER SPEEDY TRIAL ACT;
                                                        FINDINGS AND ORDER
14   DEANDREW JORDAN;
     GRANT BROWNING; AND                                DATE: August 18, 2016
15   ATHANASIOS DIMOU,                                  TIME: 9:30 a.m.
                                                        COURT: Hon. Troy L. Nunley
16                                Defendants.
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19                                               STIPULATION

20         1.      By previous order, this matter was set for a status conference on August 18, 2016.

21         2.      By this stipulation, defendants Deandrew Jordan and Athanasios Dimou, through their

22 undersigned counsel, now move to continue the status conference until September 22, 2016, at 9:30

23 a.m., and to exclude time between August 18, 2016, and September 22, 2016, under Local Code T4.

24         3.      The parties agree and stipulate, and request that the Court find the following:

25                 a)      The government has represented that the discovery associated with this case

26         includes investigative reports and related documents in electronic form, totaling approximately

27         100 pages, in addition to several hours of electronic surveillance audio and video recordings.

28         The government has produced a significant amount of the investigative reports to date, and has


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    1
      ORDER
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 1        represented to defense counsel that the government is preparing the remainder of the reports, as

 2        well as the electronic surveillance discovery, for production.

 3                b)      Counsel for defendants desire additional time to consult with their respective

 4        clients, to review the current charges, to conduct investigation and research related to the

 5        charges, to review and copy discovery for this matter, to discuss potential resolutions with their

 6        clients, and to otherwise prepare for trial.

 7                c)      Counsel for defendants believe that failure to grant the above-requested

 8        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 9        into account the exercise of due diligence.

10                d)      The government does not object to the continuance.

11                e)      Based on the above-stated findings, the ends of justice served by continuing the

12        case as requested outweigh the interest of the public and the defendant in a trial within the

13        original date prescribed by the Speedy Trial Act.

14                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15        et seq., within which trial must commence, the time period of August 18, 2016 to September 22,

16        2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

18        of the Court’s finding that the ends of justice served by taking such action outweigh the best

19        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
     ORDER
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: August 15, 2016                                   PHILLIP A. TALBERT
 6                                                            Acting United States Attorney
 7
                                                              /s/ JAMES R. CONOLLY
 8                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
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12 Dated: August 15, 2016                                     /s/ James Conolly for
                                                              MICHAEL PETRIK
13
                                                              Counsel for Defendant
14                                                            Athanasios Dimou

15
     Dated: August 15, 2016                                   /s/ James Conolly for
16                                                            CHRIS COSCA
                                                              Counsel for Defendant
17                                                            Deandrew Jordan
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                                            FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED this 15th day of August, 2016.
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25                                                              Troy L. Nunley
                                                                United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      3
      ORDER
